 

 

Case 2:18-mj-03087-DUTY Dooument 3 Filed 12/07/18 Page 1 of 3 Page |D #:81

Case 2:18-mj»03087-DUTY *SEA|TED* Document l-l *SEALED* Filed 11!20{18 Page 1 of 2
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' United States District Court
OR\G\NAL

 

CENTRA.L DISTRICT OF CALIFOR.NIA

In the Matter of the Seizure of`
(Address or Briei` description of property or premises to be seized) SEIZURE WARRANT
The Wells Fargo Bank Aceounts of Juan E. Caudilio

listed below: ` CASE NUMBER: 2:18-1\/[]-0308?

TO: The Postal inspection Service and any Authoriz.ed Offieer of the United States, At`fidavit(s) having been
made before me by Postal Inspeetor Kellv Shen Wlio has reason to believe that in the Central District of
California there is now certain property which is subject to forfeiture to the United States, namely the following

Wells Fargo bank accounts:

a. 6300211890, held in the name Juan E. Candillo DBA J.C. Trucking;

b. 6351146631, held in the name Juan E. Caudillo;
c. 9218515014, held in the name Juan ]i`,. Caudillo DBA J.C. Greenhouse; and
d. 6885605284, held in the name Juan E. Caudillo DBA J.C. Greenhouse.
which are subject to seizure and forfeiture pursuant to: 21 U.S.C. § 853(f`), 18 U.S.(_J. §§ 981 and 984, and 28
U.S.C. § 2461(0). ‘

concerning violations of Title _l_& United States Code, Section(s] 371, 1001, 1349, 1341 , 1956, and 31 U.S.C.
§ 5324.

I am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the
property so described is subject to seizure and that grounds exist for the issuance of this seizure warrant

YOU ARE HE`,REBY COMMANDED to seize Within g days the property specified, serving this warrant and
making the seizure in the daytime - 6:00 A.M. to 10:00_ P.M., leaving a copy of this warrant and receipt for the
property seized, and prepare a written inventory of the property seized and promptly return this Warrant and
inventory to the United States Magistrate on duty at the time of the return through a filing with the Clerl<'s
Oi`tice. _

The financial institution listed above is ordered to deliver all funds in the identified accounts to the law
enforcement agent serving this warrant immediately upon presentation of this warrant in the form of a
cashier's check made payable to the United States Postal Inspection Service.

ii ` 20 ` D-O L q Cii\ i\/OOY_\ at LosAngeles,California

Date and Time Issued

  
    
 

Honorable John E.. MeDermott, U.'S. Magistrate lodge .-\_""*\_._,'}. ‘ n . .,',__,;' l “ ,‘
Name and Title of Judicial Oftieer ‘ tnre of Judicial Off'lcer

AUSA Andrew Brown, X{HUZ, 11"' Fioor

 

 

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CERTIFICATION

 

I declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is
correct and was returned along with the original warrant to the designated judge through a filing with the

Clerl<'s Oi`fice, @\A
Date: l l:l 2-‘"1!"?/Vle’ `__.OM""\

ebng officer’s signature

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Printed name and title

 

 

 

 

 

 

 

 
 

   

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PS Forrn 6704,

  
       

Named Above 3 - F{eturned With Search Warrant 4 - Item Seized

   

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